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 1     CENTER FOR DISABILITY ACCESS
       Raymond Ballister Jr., Esq., SBN 111282
 2     Russell Handy, Esq., SBN 195058
       Dennis Price, Esq., SBN 279082
 3     Amanda Seabock, Esq., SBN 289900
       Mail: 8033 Linda Vista Road, Suite 200
 4     San Diego, CA 92111
       (858) 375-7385; (888) 422-5191 fax
 5     amandas@potterhandy.com
 6     Attorneys for Plaintiff
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 8
                               UNITED STATES DISTRICT COURT
 9                            CENTRAL DISTRICT OF CALIFORNIA
10
11     Orlando Garcia,                           Case No.

12               Plaintiff,
                                                 Complaint For Damages And
13       v.                                      Injunctive Relief For Violations
                                                 Of: Americans With Disabilities
14     Kyung Hee Lee, in individual and          Act; Unruh Civil Rights Act
       representative capacity as Trustee of
15     The Kyung Hee Lee Family
       Revocable Living Trust UAD May
16     15, 1997;
       El Potrillo Market, Inc., a
17     California Corporation

18               Defendants.

19
20         Plaintiff Orlando Garcia complains of Kyung Hee Lee, in individual and

21   representative capacity as Trustee of The Kyung Hee Lee Family Revocable

22   Living Trust UAD May 15, 1997; El Potrillo Market, Inc., a California

23   Corporation; and alleges as follows:

24
25     PARTIES:

26     1. Plaintiff is a California resident with physical disabilities. Plaintiff is a

27   level C-5 quadriplegic. He also suffers from Cerebral Palsy. He has manual

28   dexterity issues. He uses a wheelchair for mobility.


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 1     2. Defendant Kyung Hee Lee, in individual and representative capacity as
 2   Trustee of The Kyung Hee Lee Family Revocable Living Trust UAD May 15,
 3   1997, owned the real property located at or about 4151 W 3rd St, Los Angeles,
 4   California, in August 2020.
 5     3. Defendant Kyung Hee Lee, in individual and representative capacity as
 6   Trustee of The Kyung Hee Lee Family Revocable Living Trust UAD May 15,
 7   1997, owns the real property located at or about 4151 W 3rd St, Los Angeles,
 8   California, currently.
 9     4. Defendant El Potrillo Market, Inc. owned El Portrillo Market located at
10   or about 4151 W 3rd St, Los Angeles, California, in August 2020.
11     5. Defendant El Potrillo Market, Inc. owns El Portrillo Market (“Store”)
12   located at or about 4151 W 3rd St, Los Angeles, California, currently.
13     6. Plaintiff does not know the true names of Defendants, their business
14   capacities, their ownership connection to the property and business, or their
15   relative responsibilities in causing the access violations herein complained of,
16   and alleges a joint venture and common enterprise by all such Defendants.
17   Plaintiff is informed and believes that each of the Defendants herein is
18   responsible in some capacity for the events herein alleged, or is a necessary
19   party for obtaining appropriate relief. Plaintiff will seek leave to amend when
20   the true names, capacities, connections, and responsibilities of the Defendants
21   are ascertained.
22
23     JURISDICTION & VENUE:
24     7. The Court has subject matter jurisdiction over the action pursuant to 28
25   U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
26   Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
27     8. Pursuant to supplemental jurisdiction, an attendant and related cause
28   of action, arising from the same nucleus of operative facts and arising out of


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 1   the same transactions, is also brought under California’s Unruh Civil Rights
 2   Act, which act expressly incorporates the Americans with Disabilities Act.
 3     9. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is
 4   founded on the fact that the real property which is the subject of this action is
 5   located in this district and that Plaintiff's cause of action arose in this district.
 6
 7     FACTUAL ALLEGATIONS:
 8     10. Plaintiff went to the Store in August 2020 with the intention to avail
 9   himself of its goods and to assess the business for compliance with the
10   disability access laws.
11     11. The Store is a facility open to the public, a place of public
12   accommodation, and a business establishment.
13     12. Unfortunately, on the date of the plaintiff’s visit, the defendants failed
14   to provide wheelchair accessible paths of travel in conformance with the ADA
15   Standards as it relates to wheelchair users like the plaintiff.
16     13. The Store provides paths of travel to its customers but fails to provide
17   any wheelchair accessible paths of travel.
18     14. A couple of problems that plaintiff encountered is that the paths of
19   travel at the entrance and inside the Store were too narrow for plaintiff.
20     15. Plaintiff believes that there are other features of the paths of travel that
21   likely fail to comply with the ADA Standards and seeks to have fully compliant
22   paths of travel available for wheelchair users.
23     16. On information and belief, the defendants currently fail to provide
24   wheelchair accessible paths of travel.
25     17. Additionally, on the date of the plaintiff’s visit, the defendants failed to
26   provide wheelchair accessible parking in conformance with the ADA
27   Standards as it relates to wheelchair users like the plaintiff.
28     18. The Store provides parking to its customers but fails to provide any


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 1   wheelchair accessible parking.
 2     19. The problem that plaintiff encountered is that that there were slopes in
 3   the parking space reserved for persons with disabilities that exceeded 2.1%.
 4     20. Plaintiff believes that there are other features of the parking that likely
 5   fail to comply with the ADA Standards and seeks to have fully compliant
 6   parking available for wheelchair users.
 7     21. On information and belief, the defendants currently fail to provide
 8   wheelchair accessible parking.
 9     22. These barriers relate to and impact the plaintiff’s disability. Plaintiff
10   personally encountered these barriers.
11     23. As a wheelchair user, the plaintiff benefits from and is entitled to use
12   wheelchair accessible facilities. By failing to provide accessible facilities, the
13   defendants denied the plaintiff full and equal access.
14     24. The failure to provide accessible facilities created difficulty and
15   discomfort for the Plaintiff.
16     25. The defendants have failed to maintain in working and useable
17   conditions those features required to provide ready access to persons with
18   disabilities.
19     26. The barriers identified above are easily removed without much
20   difficulty or expense. They are the types of barriers identified by the
21   Department of Justice as presumably readily achievable to remove and, in fact,
22   these barriers are readily achievable to remove. Moreover, there are numerous
23   alternative accommodations that could be made to provide a greater level of
24   access if complete removal were not achievable.
25     27. Plaintiff will return to the Store to avail himself of its goods and to
26   determine compliance with the disability access laws once it is represented to
27   him that the Store and its facilities are accessible. Plaintiff is currently deterred
28   from doing so because of his knowledge of the existing barriers and his


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 1   uncertainty about the existence of yet other barriers on the site. If the barriers
 2   are not removed, the plaintiff will face unlawful and discriminatory barriers
 3   again.
 4     28. Given the obvious and blatant nature of the barriers and violations
 5   alleged herein, the plaintiff alleges, on information and belief, that there are
 6   other violations and barriers on the site that relate to his disability. Plaintiff will
 7   amend the complaint, to provide proper notice regarding the scope of this
 8   lawsuit, once he conducts a site inspection. However, please be on notice that
 9   the plaintiff seeks to have all barriers related to his disability remedied. See
10   Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff
11   encounters one barrier at a site, he can sue to have all barriers that relate to his
12   disability removed regardless of whether he personally encountered them).
13
14   I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
15   WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
16   Defendants.) (42 U.S.C. section 12101, et seq.)
17     29. Plaintiff re-pleads and incorporates by reference, as if fully set forth
18   again herein, the allegations contained in all prior paragraphs of this
19   complaint.
20     30. Under the ADA, it is an act of discrimination to fail to ensure that the
21   privileges, advantages, accommodations, facilities, goods and services of any
22   place of public accommodation is offered on a full and equal basis by anyone
23   who owns, leases, or operates a place of public accommodation. See 42 U.S.C.
24   § 12182(a). Discrimination is defined, inter alia, as follows:
25             a. A failure to make reasonable modifications in policies, practices,
26                or procedures, when such modifications are necessary to afford
27                goods,     services,     facilities,   privileges,    advantages,      or
28                accommodations to individuals with disabilities, unless the


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 1                accommodation would work a fundamental alteration of those
 2                services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
 3            b. A failure to remove architectural barriers where such removal is
 4                readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
 5                defined by reference to the ADA Standards.
 6            c. A failure to make alterations in such a manner that, to the
 7                maximum extent feasible, the altered portions of the facility are
 8                readily accessible to and usable by individuals with disabilities,
 9                including individuals who use wheelchairs or to ensure that, to the
10                maximum extent feasible, the path of travel to the altered area and
11                the bathrooms, telephones, and drinking fountains serving the
12                altered area, are readily accessible to and usable by individuals
13                with disabilities. 42 U.S.C. § 12183(a)(2).
14     31. When a business provides paths of travel, it must provide accessible
15   paths of travel.
16     32. Here, accessible paths of travel have not been provided in conformance
17   with the ADA Standards.
18     33. When a business provides parking for its customers, it must provide
19   accessible parking.
20     34. Here, accessible parking has not been provided in conformance with the
21   ADA Standards.
22     35. The Safe Harbor provisions of the 2010 Standards are not applicable
23   here because the conditions challenged in this lawsuit do not comply with the
24   1991 Standards.
25     36. A public accommodation must maintain in operable working condition
26   those features of its facilities and equipment that are required to be readily
27   accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
28     37. Here, the failure to ensure that the accessible facilities were available


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 1   and ready to be used by the plaintiff is a violation of the law.
 2
 3   II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
 4   RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
 5   Code § 51-53.)
 6      38. Plaintiff repleads and incorporates by reference, as if fully set forth
 7   again herein, the allegations contained in all prior paragraphs of this
 8   complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
 9   that persons with disabilities are entitled to full and equal accommodations,
10   advantages, facilities, privileges, or services in all business establishment of
11   every kind whatsoever within the jurisdiction of the State of California. Cal.
12   Civ. Code §51(b).
13      39. The Unruh Act provides that a violation of the ADA is a violation of the
14   Unruh Act. Cal. Civ. Code, § 51(f).
15      40. Defendants’ acts and omissions, as herein alleged, have violated the
16   Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s
17   rights to full and equal use of the accommodations, advantages, facilities,
18   privileges, or services offered.
19      41. Because the violation of the Unruh Civil Rights Act resulted in difficulty,
20   discomfort or embarrassment for the plaintiff, the defendants are also each
21   responsible for statutory damages, i.e., a civil penalty. (Civ. Code § 55.56(a)-
22   (c).
23
24            PRAYER:
25            Wherefore, Plaintiff prays that this Court award damages and provide
26   relief as follows:
27          1. For injunctive relief, compelling Defendants to comply with the
28   Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the


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 1   plaintiff is not invoking section 55 of the California Civil Code and is not
 2   seeking injunctive relief under the Disabled Persons Act at all.
 3       2. Damages under the Unruh Civil Rights Act, which provides for actual
 4   damages and a statutory minimum of $4,000 for each offense.
 5       3. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
 6   to 42 U.S.C. § 12205; and Cal. Civ. Code §§ 52.
 7
 8   Dated: October 5, 2020           CENTER FOR DISABILITY ACCESS
 9
10                                    By:
11
12                                    _______________________

13                                           Russell Handy, Esq.
                                             Attorney for plaintiff
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